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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the                                              FILED
                                                                                                                       Feb 01, 2024
                                                    Eastern District
                                                  __________ Districtofof
                                                                       California
                                                                          __________                               CLERK, U.S. DISTRICT COURT
                                                                                                                 EASTERN DISTRICT OF CALIFORNIA


                  United States of America                           )
                             v.                                      )
                    Jose DUENAS                                      )      Case No. 1:24-mj-00013-BAM
              Eduardo MENDOZA-Sanchez                                )
                   Anthony VARELA                                    )
                                                                     )
                                                                     )
                          Defendant(s)


 CRIMINAL COMPLAINT BY RELIABLE ELECTRONIC OR TELEPHONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 September 28, 2023,              in the county of                Fresno                       in the
      Eastern          District of            California         , the defendant(s) violated:

            Code Section                                                       Offense Description
21 USC Section 841                               Possession with Intent to Distribute Over 500 Grams of Methamphetamine

21 USC Setion 846, 841                           Conspiracy to Posses with Intent to Distribute Over 500 Grams of
                                                 Methamphetamine
                                                 10 yr-life in prison, $10M fine, 5yr-life of supervised release, $100 special fee




         This criminal complaint is based on these facts:
See affidavit of HSI SA Jackie Lovato, attached hereto and incorporated herein.




         ✔ Continued on the attached sheet.
         ’


                                                                                                Complainant’s signature

                                                                                          Jackie Lovato, Special Agent
Attested to by the applicant in accordance                                                       Printed name and title
with the requirements of Fed. R. Crim. P.
4.1 by telephone


Date:             02/01/2024
                                                                                                   Judge’s signature

City and state:                         Fresno, California                     Hon. Barbara A. McAullife, U.S. Magistrate Judge
                                                                                                 Printed name and title
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 1

 2                                IN THE UNITED STATES DISTRICT COURT

 3                                   EASTERN DISTRICT OF CALIFORNIA

 4
     UNITED STATES OF AMERICA,                            CASE NO.
 5
                                   Plaintiff,             AFFIDAVIT OF HSI SA JACKIE LOVATO IN
 6                                                        SUPPORT OF CRIMINAL COMPLAINT AND
                             v.                           ARREST WARRANTS
 7
     JOSE DUENAS,
 8   ANTHONY VARELA, AND
     EDUARDO MENDOZA SANCHEZ
 9
                                   Defendants.
10

11

12 I, Jackie Lovato, being duly sworn, hereby depose and state as follows:

13          1.       I am a Special Agent with the United States Department of Homeland Security (“DHS”)/

14 Immigration and Customs Enforcement/ Homeland Security Investigations (“HSI”), presently assigned to

15 the Office of the Resident Agent in Charge, Fresno, California (“HSI Fresno”). I am a “federal law

16 enforcement officer” within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C). I have been

17 employed as an HSI Special Agent (SA) since December of 2018. I have received training in the area of

18 federal narcotic offenses and am a graduate of the Federal Law Enforcement Training Center, Criminal

19 Investigator and Immigration and Customs Enforcement Special Agent Training Programs. Prior to my

20 appointment as a SA with HSI, I was previously a SA with the Treasury Inspector General for Tax
21 Administration, a Border Patrol Agent, and Deportation Officer.

22          2.       I have participated in investigations including, gangs, drugs, firearms, violent crimes, and

23 others. My law enforcement experience includes conducting physical surveillance, interviewing

24 witnesses, victims and suspects, writing affidavits for and executing search warrants, handling confidential

25 informants, analyzing phone records obtained from subpoenas, search warrants, pen registers, trap and

26 trace devices, and collecting and processing evidence. Through my training and experience as a law

27 enforcement officer, I have become familiar with the gang sub-culture and drug sub-culture including

28 knowledge of controlled substance and firearms violations.


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 1          3.       This affidavit is made in support of a criminal complaint for Jose DUENAS, Anthony

 2 VARELA, and Eduardo MENDOZA Sanchez for violating the following:

 3                • Title 21, United States Code, Section 841, Possession of a controlled substance for sale,

 4                   methamphetamine.

 5                • Title 21, United States Code, Section 841, Conspiracy to possess/distribute a controlled

 6                   substance, methamphetamine.

 7          4.       The facts in the affidavit come from personal observations and training and, where noted,

 8 information related to me by other law enforcement officers and/or agents. Because this affidavit is written

 9 solely for the purpose of establishing probable cause for issuance of a criminal complaint, not all results

10 of this investigation have been included herein.

11                                        I.      PROBABLE CAUSE
12          A.       Traffic Stop of Vehicles containing approximately 40 pounds of crystal
                     methamphetamine and one firearm.
13
            6.       According to reports from the Fresno County Sheriff’s Office (herein referred to as
14
     “FSO”), on September 28, 2023, while on patrol within the County of Fresno, CA, FSO Deputy Jose
15
     Colegio and FSO K-9 (“Gere”) handler Juan Guzman initiated a traffic stop on a car (MALIBU) 1 for
16
     several California vehicle code violations. The car was occupied by only Eduardo MENDOZA-
17
     Sanchez.
18
            7.       A subsequent search of the car yielded approximately forty pounds of a white crystalline
19
     substance and two black Samsung telephones. A sample of the narcotics was sent to the DEA lab and
20
     the results were positive for the characteristics of methamphetamine with a 95% purity level. A black
21
     Samsung cellphone with three camera lenses (SAMSUNG) 2 was found on the person of MENDOZA
22
     and another other black Samsung cellphone, which had one camera lens, was found in the glovebox of
23
     the vehicle.
24
            8.       FSO deputies contemporaneously conducted a traffic stop on a separate dark gray
25

26          1
             The car was a 2015 Chevrolet MALIBU (CA 7TNB957) registered to R.W. in Fresno.
            2
27           This phone was searched and (559) 365-1115 was assigned to the SAMSUNG. There were
   selfie style photographs of MENDOZA on the SAMSUNG along with the name “Eduardo Mendoza”
28 assigned to the application CashApp and a Facebook account with the name, “Eddie Lewis Mendoza.”


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 1 MERCEDES 3 after officers observed the MERCEDES following too closely to the MALIBU and

 2 driving an unsafe speed in violation of California vehicle code section 21703 and 22350. The driver of

 3 the MERCEDES was identified as Anthony VARELA. The only other occupant, identified as Jose

 4 DUENAS, was encountered as he was seated in the front passenger seat. VARELA and DUENAS were

 5 both on Post Release Custody Supervision and a search of the vehicle and a search of their persons was

 6 conducted. VARELA was in possession of gray iPhone (GRAY IPHONE) 4 found on his person.

 7 DUENAS had two phones on the passenger seat, a blue Motorola (MOTOROLA) 5 and a red iPhone

 8 (RED IPHONE), 6 which had no battery life.

 9          9.       Inside the MERCEDES, a deputy also found and seized a loaded, chambered, .45 caliber

10 Glock pistol, which returned as unregistered. The gun was found on the rear driver’s side passenger

11 seat.

12          B.       Review of mobile device extractions of a blue MOTOROLA cellphone (DUENAS) ,
                     GRAY IPHONE (VARELA) , and SAMUSNG (MENDOZA)
13
            10.      On October 3, 2023, the Honorable Stanley A. Boone authorized officers to search the
14
     five cellphones located in the two vehicles involved in the traffic stop. Your affiant reviewed the mobile
15
     device extractions, and the data revealed DUENAS’s MOTOROLA was used to facilitate the pick up of
16
     the 40 lbs. of methamphetamine found in the MALIBU (driven by MENDOZA). It should be noted
17
     again, the MOTOROLA and RED IPHONE were found on the passenger seat where DUENAS was
18
     encountered in the MERCEDES.
19
            11.      You affiant reviewed the mobile-device extraction of the MOTOROLA, seized from
20
     DUENAS during the traffic stop, and observed multiple photographs and messages related to narcotics
21
     trafficking to multiple individuals and communications involving the narcotics pickup.
22

23          3
              The vehicle was a 2013 Mercedes (CA 8XMW638) registered to the same R.W. at the same
     address in Fresno, CA.
24
            4
              (559) 755-2134 was assigned to the GRAY IPHONE and there were selfie style photographs of
25   VARELA and the telephone name was “Anthony’s iPhone” and Facebook account of “Anthony
     Varela.”
26          5
              (559) 696-4715 was assigned to the MOTOROLA.
            6
27            The RED IPHONE revealed the telephone number assigned of (559) 569-7397, which was the
     telephone number provided by DUENAS to the California Department of Corrections and Rehabilitation
28   upon his release from incarceration on June 7, 2023.


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 1         12.    Of note, the MOTOROLA contained the contact “Ant Dog” at (559) 755-2134, which

 2 was the telephone number assigned to the GRAY IPHONE found on the person of VARELA and I

 3 believe a moniker for VARELA. (VARELA’s first name is Anthony). “Ant Dog” [VARELA] had the

 4 contact “Money” for the telephone number associated to the RED IPHONE and “Money New #” for the

 5 MOTOROLA. “Money” is a known moniker for DUENAS. The following messages and calls were

 6 exchanged between (559) 696-4715 (MOTOROLA/DUENAS) and contact “Ant Dog” [VARELA]

 7 (559) 755-2134, on September 28, 2023, from approximately 6:50 AM through 10:40 AM:
    Date         Time        Type           Direction  Contact      Message
 8
    9/28/2023    6:50:15     Text           Outgoing   DUENAS       Ant u up
 9
    9/28/2023    6:51:12     Text           Incoming   VARELA       Yeah I'm
10                                                                  getting
11                                                                  dressed

12   9/28/2023    6:51:26     Text         Outgoing    DUENAS       Okay

13   9/28/2023    6:56:58     Text         Incoming    VARELA       Dog what
                                                                    time you
14                                                                  want me to
                                                                    head that
15
                                                                    way
16
     9/28/2023    6:57:24     Text         Outgoing    DUENAS       Like in 30
17                                                                  minutes

18   9/28/2023    6:57:35     Text         Incoming    VARELA       Yup

19   9/28/2023    6:57:37     Text         Outgoing    DUENAS       Meet you at
                                                                    my moms
20
     9/28/2023    6:57:46     Text         Incoming    VARELA       Alright
21
     9/28/2023    7:35:49     Voice        Outgoing    DUENAS
22
     9/28/2023    7:52:37     Voice        Incoming    VARELA
23
     9/28/2023    8:13:17     Voice        Outgoing    DUENAS
24
     9/28/2023    8:13:46     Voice        Incoming    VARELA
25
     9/28/2023    8:14:55     Text         Outgoing    DUENAS       His name is
26                                                                  Eddie boy
                                                                    from Lewis
27

28


      AFFIDAVIT                                    4
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 1   9/28/2023    10:40:16     Text         Outgoing     DUENAS       3310
                                                                      California
 2
                                                                      Ave
 3                                                                    Bakersfield,
                                                                      CA 93304
 4                                                                    United
 5                                                                    States

 6         13.    In the above, DUENAS is arranging for VARELA to meet with MENDOZA.
 7 Specifically, DUENAS says, “His name is Eddie boy from Lewis.” MENDOZA’s first name is

 8 Eduardo. It should also be noted, “Eddy Boy Cuddie” was the contact saved in the MOTOROLA

 9 (DUENAS’s phone) for telephone number (559) 365-1115, which was assigned to the SAMSUNG

10 found on the person of MENDOZA.

11         14.    In addition to contacting VARELA in the early morning hours on September 28, 2023,
12 DUENAS also contacted “Eddie Boy Cuddie.” The following messages and calls were exchanged

13 between (559) 696-4715 (DUENAS / “Money”) and contact “Eddie Boy Cuddie” (559) 365-1115 on

14 September 28, 2023:

15 Date          Time          Type         Direction    Telephone     Message
                                                         Number
16
     9/28/2023    6:25:08      Text         Incoming     MENDOZA Ay nigga
17
     9/28/2023    6:25:37      Text         Outgoing     DUENAS        Yeah
18
     9/28/2023    6:25:42      Text         Outgoing     DUENAS        Get eeady
19
     9/28/2023    6:25:45      Text         Outgoing     DUENAS        Ready
20
     9/28/2023    6:26:02      Text         Incoming     MENDOZA My bad
21                                                               just got up

22   9/28/2023    6:26:03      Text         Incoming     MENDOZA K

23   9/28/2023    6:26:11      Text         Outgoing     DUENAS        It's good

24   9/28/2023    6:58:54      Text         Incoming     MENDOZA How long

25   9/28/2023    7:08:24      Text         Incoming     MENDOZA Lmk when
                                                                 to go
26                                                               outside
27   9/28/2023    7:08:54      Text         Outgoing     DUENAS        I'm bouta
                                                                       pick you up
28


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 1    9/28/2023     7:09:00       Text          Outgoing     DUENAS         I'll let you
                                                                            know
 2
      9/28/2023     7:09:29       Text          Incoming     MENDOZA Ok lmk
 3
                                                                     when to go
 4                                                                   outside j

 5    9/28/2023     7:35:06       Voice         Outgoing     DUENAS

 6    9/28/2023     8:13:22       Voice         Outgoing     DUENAS

 7    9/28/2023     8:15:13       Text          Outgoing     DUENAS         The homie
                                                                            is gonna
 8                                                                          pull up in a
                                                                            silver
 9
                                                                            malibu
10
      9/28/2023     8:15:23       Text          Outgoing     DUENAS         Ant from
11                                                                          mendota

12    9/28/2023     8:16:43       Text          Incoming     MENDOZA Ok should I
                                                                     have the
13                                                                   gate open
14    9/28/2023     8:23:56       Voice         Incoming     MENDOZA
15    9/28/2023     9:03:21       Voice         Outgoing     DUENAS
16    9/28/2023     11:04:02      Voice         Incoming     MENDOZA
17    9/28/2023     11:18:00      Text          Incoming     MENDOZA Are we
                                                                     getting off?
18
      9/28/2023     11:18:16      Voice         Incoming     MENDOZA
19
      9/28/2023     11:18:16      Voice         Outgoing     DUENAS
20
      9/28/2023     14:28:24      Text          Outgoing     DUENAS         "12827
21                                                                          Victory
22                                                                          Blvd North
                                                                            Hollywood,
23                                                                          CA 91606
24
            15.     In the above messages, DUENAS coordinates with MENDOZA about MENDOZA’s
25
     meeting with “Ant” i.e., Anthony VARELA. DUENAS also referred to VARELA arriving in a “silver
26
     malibu” vehicle. It should be noted the vehicle encountered during the traffic stop was a dark blue
27
     MALIBU.
28


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 1         16.   The following narcotics messages and subsequent calls were exchanged between (559)

 2 696-4715 (MOTOROLA/DUENAS) and contact “Kyle” (559) 269-8573 on September 27th and 28th,

 3 2023:
    Date           Time           Type           Direction      Telephone      Message
 4
                                                                Number
 5
     9/27/2023     19:12:48       MMS            Incoming       (559) 269-     Yo I'm
 6                                                              8573           ready for
                                                                               half p
 7
     9/27/2023     19:13:43       MMS            Outgoing       DUENAS         Theirs no
 8                                                                             more
 9   9/27/2023     19:16:36       MMS            Incoming       (559) 269-     Are you
                                                                8573           serious
10
     9/27/2023     19:20:28       MMS            Outgoing       DUENAS         That's y I
11
                                                                               told you
12                                                                             yesterday
                                                                               if you're
13                                                                             good
14   9/27/2023     19:21:38       MMS            Incoming       (559) 269-     U getting
15                                                              8573           more any
                                                                               time soon
16
     9/27/2023     19:30:50       MMS            Outgoing       DUENAS         Tomorrow
17
     9/27/2023     19:31:55       MMS            Incoming       (559) 269-     Lmk when
18                                                              8573           u have it .

19   9/27/2023     19:32:07       MMS            Outgoing       DUENAS         >

20                                                                             JP

21   9/28/2023     13:26:03       MMS            Incoming       (559) 269-     Anything
                                                                8573           yet
22
     9/28/2023     14:07:41       MMS            Outgoing       DUENAS         Nothing
23                                                                             yet
24   9/28/2023     14:08:48       MMS            Incoming       (559) 269-     Are you
                                                                8573           going to
25
                                                                               get
26                                                                             anything
                                                                               today
27
     9/28/2023     14:12:27       MMS            Outgoing       DUENAS         Yeah
28


     AFFIDAVIT                                     7
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 1    9/28/2023      16:34:05        MMS             Incoming        (559) 269-      Lmk if u
                                                                     8573            get it
 2
      9/28/2023      18:28:59        MMS             Incoming        (559) 269-      I get it yet
 3
                                                                     8573
 4
      9/28/2023      18:47:43        Voice           Outgoing        DUENAS
 5    9/28/2023      18:48:28        MMS             Outgoing        DUENAS          Call me
 6    9/28/2023      19:19:35        Voice           Incoming        (559) 269-
 7                                                                   8573

 8          17.    In the above messages, I believe in my training and experience, “Kyle” requested a “half
 9 p” or half pound of narcotics from DUENAS and DUENAS in turn told “Kyle”, that he would be getting

10 more narcotics the following day, September 28, 2023 because there was “no more.” Furthermore, on

11 September 28, 2023, “Kyle” asked DUENAS, “Are you going to get anything today,” and DUENAS

12 replied, “Yeah.” DUENAS then told “Kyle” to call him and records revealed an incoming call to

13 DUENAS from contact “Kyle.” Thus, I believe in my training and experience, knowledge of the

14 investigation and speaking with other law enforcement officers, DUENAS knew of the re-supply of

15 narcotics the day before the traffic stop and notified a drug customer, “Kyle” that there would be more

16 narcotics the following day. DUENAS then confirmed the narcotics re-supply by messaging “Kyle” that

17 he had more narcotics and discussed the re-supply with “Kyle” after instructing “Kyle” to call

18 DUENAS.

19          18.    In addition to DUENAS facilitating the narcotics transaction and knowing the purpose of
20 travelling to the Los Angeles, CA area to obtain a re-supply of narcotics, , narcotics messages were also
21 found on VARELA’s GRAY IPHONE indicating VARELA also knew the purpose for the trip to the

22 Los Angeles, CA as well. For example, the following messages were exchanged between VARELA and

23 contact “Dad” (559) 930-4809 on September 28, 2023:

24 Date          Time         Type        Direction    Telephone      Message
                                                       Number/Contact
25
    9/28/2023    6:40:57      Message     Incoming     (559) 930-4809 Hey what
26                                                                    happened
                                                                      where
27
                                                                      you at
28


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 1   9/28/2023   6:42:05    Message   Outgoing   VARELA           I'm gonna
                                                                  go to LA
 2
                                                                  and take
 3                                                                care of
                                                                  something
 4
     9/28/2023   6:43:34    Message   Outgoing   VARELA           My
 5                                                                homeboy
 6                                                                is paying
                                                                  me to
 7                                                                drive him
                                                                  up there
 8
                                                                  cause I
 9                                                                got a
                                                                  license.
10
     9/28/2023   6:44:19    Message   Outgoing   VARELA           I took him
11                                                                twice
                                                                  already. I
12
                                                                  get a
13                                                                couple
                                                                  hundred
14                                                                dollars for
15                                                                driving

16   9/28/2023   6:44:20    Message   Outgoing   VARELA           I took him
                                                                  twice
17                                                                already. I
                                                                  get a
18
                                                                  couple
19                                                                hundred
                                                                  dollars for
20                                                                driving
21   9/28/2023   6:53:12    Message   Incoming   (559) 930-4809   Oh
22   9/28/2023   11:02:16   Message   Incoming   (559) 930-4809   You're not
                                                                  taking
23
                                                                  your car
24                                                                are you

25   9/28/2023   11:32:49   Message   Outgoing   VARELA           No sir

26   9/28/2023   11:33:06   Message   Outgoing   VARELA           We came
                                                                  in the
27                                                                Mercedes
28


     AFFIDAVIT                               9
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 1         19.    On the day of the stop, VARELA and DUENAS also exchanged the following messages

 2 starting at approximately 2:22 PM, where DUENAS provides addresses and instructs VARELA to be

 3 “patient” and not to “rush them.”
    Date          Time           Type      Direction   Telephone      Message
 4
                                                       Number/Contact
 5
     9/28/2023    14:22:14      Text       Outgoing    DUENAS            12727
 6                                                                       Sherman
                                                                         Way North
 7                                                                       Hollywood,
 8                                                                       CA 91605
                                                                         United
 9                                                                       States"

10   9/28/2023    14:28:35      Text       Outgoing    DUENAS            12827
                                                                         Victory
11                                                                       Blvd North
12                                                                       Hollywood,
                                                                         CA 91606
13                                                                       United
                                                                         States
14
     9/28/2023    16:05:20      Text       Incoming    VARELA            Doggy let's
15
                                                                         roll
16
     9/28/2023    16:05:38      Text       Outgoing    DUENAS            It's not tike
17   9/28/2023    16:06:34      Text       Outgoing    DUENAS            Time
18   9/28/2023    16:07:55      Text       Incoming    VARELA            Nigga it's
19                                                                       4:07

20   9/28/2023    16:08:43      Text       Outgoing    DUENAS            And

21   9/28/2023    16:08:55      Text       Outgoing    DUENAS            We wait till
                                                                         he calls
22
     9/28/2023    16:09:07      Text       Outgoing    DUENAS            Have
23                                                                       patience

24   9/28/2023    16:10:56      Text       Outgoing    DUENAS            Yeah I
                                                                         know. You
25                                                                       right. But I
26                                                                       can't rush
                                                                         them or
27                                                                       blow them
                                                                         up. He will
28


      AFFIDAVIT                                   10
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 1                                                                              call. Kill
                                                                                time
 2

 3

 4         20.     In my training and experience, knowledge of this investigation and speaking with other

 5 law enforcement officers, I believe the above conversations confirm VARELA knew he was travelling

 6 to the Los Angeles, CA area to pick up a re-supply of narcotics with DUENAS in the MERCEDES and

 7 he had conducted a re-supply trip on at least two prior occasions as VARELA admitted to contact

 8 “Dad.” VARELA was also financially compensated by DUENAS to conduct such narcotics re-supply

 9 trips and was paid a “couple hundred bucks.” I also believe that the above message tables also confirm

10 that DUENAS was in control of the transaction as he was instructing VARELA to remain calm and “kill

11 time” as DUENAS was awaiting a phone call from the local point of contact to pick up the narcotics and

12 then would relay that information to VARELA.

13         21.     At approximately 7:24 PM, contact “Dad” and VAERLA exchanged the following

14 messages:
    Date           Time         Type          Direction     Telephone      Message
15
                                                            Number/Contact
16   9/28/2023     19:24:17     Message       Incoming      (559) 930-4809      U
17                                                                              hanging
                                                                                in there
18                                                                              driving
19   9/28/2023     19:25:22     Message       Outgoing      VARELA              Yeah
20   9/28/2023     19:26:07     Message       Outgoing      VARELA              We are
                                                                                passing
21
                                                                                Visalia
22
     9/28/2023     19:26:23     Message       Incoming      (559) 930-4809      Okay
23

24   9/28/2023     19:26:34     Message       Incoming      (559) 930-4809      You're
25                                                                              not too
                                                                                far from
26                                                                              home
                                                                                hang in
27

28


      AFFIDAVIT                                       11
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 1                                                                            there
                                                                              okay
 2
      9/28/2023    19:26:48     Message      Outgoing      VARELA             Oh we're
 3
                                                                              good
 4
            22.    In the above message table, I believe in my training and experience, VARELA told
 5
     “Dad” that they were almost home and “were good” or had not been contacted by law enforcement
 6
     further indicating VARELA’s knowledge of the trip.
 7
            23.    Lastly, narcotics messages were also found on MENDOZA’s SAMSUNG that he also
 8
     knew that he was traveling to the Los Angeles, CA area to “pick up.” The following messages were
 9
     exchanged between (559) 365-1115 (MENDOZA) and contact “Savage” (918) 315-1104 on September
10
     28, 2023:
11
      Date         Time         Type         Direction     Telephone      Message
12                                                         Number/Contact

13    9/28/2023    12:29:23     Message      Outgoing      MENDOZA            I'm on
                                                                              my way
14                                                                            to l.a to
                                                                              pick up..
15
                                                                              I'm wot
16                                                                            my
                                                                              cousin
17
      9/28/2023    12:29:34     Message      Outgoing      MENDOZA            I'm
18                                                                            nervous
19                                                                            ass fuck
                                                                              lol
20
      9/28/2023    12:29:58     Message      Outgoing      MENDOZA            When
21                                                                            you
                                                                              gonna
22
                                                                              come
23                                                                            fuck wit
                                                                              us
24
      9/28/2023    12:30:31     Message      Incoming      (918) 315-1104     Why
25                                                                            you
                                                                              nervous
26
                                                                              foo
27

28


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 1    9/28/2023     12:30:37      Message        Incoming      (918) 315-1104       You
                                                                                    need my
 2
      9/28/2023     12:30:48      Message        Incoming      (918) 315-1104       I'm at
 3
                                                                                    the car
 4                                                                                  lot

 5    9/28/2023     12:31:33      Message        Outgoing      MENDOZA              Cause
                                                                                    they
 6                                                                                  finna be
 7                                                                                  like 50
                                                                                    of em in
 8                                                                                  here lol I
                                                                                    gotta
 9                                                                                  drive a
10                                                                                  car jus
                                                                                    for that
11
      9/28/2023     12:31:55      Message        Outgoing      MENDOZA              Naw it's
12                                                                                  good
                                                                                    brodie
13
                                                                                    my
14                                                                                  cousin
                                                                                    go'ts his
15                                                                                  in the
16                                                                                  other car

17          24.     In the above messages, MENDOZA told ‘Savage” that he was on his way to “pick up” ,
18 was “nervous”, and his “cousin” was in the other car. MENDOZA also messaged, cause they finna be

19 like 50 of em in here lol I gotta drive a car jus for that.” I believe in my training and experience and

20 knowledge of this investigation, MENDOZA knew he was driving to the Los Angeles, CA area with his
21 “cousin [DUENAS] for the sole purpose of picking up “50” or fifty (50) pounds of narcotics and

22 MENDOZA knew DUENAS was going to be in a separate vehicle.

23          25.     Later that afternoon, at approximately 4:11 PM, (559) 365-1115 (MENDOZA) messaged
24 (559) 548-9501, “I’ just came wit my cousin I’m in one car he’s in another car my trunk is fullll Of birds

25 I.” I believe in my training and experience, MENDOZA confirmed the “birds” or narcotics were in the

26 trunk of the vehicle MENDOZA was operating. It should be noted, two vehicles were involved in the

27 traffic stop and approximately forty (40) pounds of methamphetamine were seized in the trunk of the

28 vehicle MENDOZA was operating.


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 1         26.     In my training and experience, individuals that facilitate or coordinate the possession

 2 of/or transporting contraband distance themselves from the contraband and parties involved. In this

 3 case, DUENAS was not operating the vehicle that contained the narcotics but contact “Eddie boy

 4 Cuddie” or MENDOZA was operating the vehicle. Furthermore, DUENAS orchestrated the individuals

 5 involved (VARELA and MENDOZA) to ensure the narcotics re-supply occurred, and instructed

 6 VARELA to pick up MENDOZA and notified MENDOZA that VARELA would be picking him up in a

 7 MALIBU. DUENAS then told VARELA to remain calm while DUENAS was awaiting a phone call

 8 from local point of contact to ensure the narcotics transaction occurred. VARELA and MENDOZA then

 9 messaged their own separate contacts that they “were good” and had picked up the “birds” and were

10 heading back to Fresno. VARELA and MENDOZA also messaged separate contacts that there were on

11 their way to “pick up” and VARELA stated he had done it before” and MENDOZA was “nervous.”

12 DUENAS also replied, “Yeah” to contact “Kyle” when asked if he was able to get “anything today” or

13 narcotics on September 28,2023.

14         27.     Therefore, I believe VARELA and MENDOZA knew they were driving in separate

15 vehicles on behalf of/and with DUENAS to the Los Angeles, CA area to pick up narcotics and

16 DUENAS orchestrated and organized the narcotics transaction.

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 1          28.    On the basis of the aforementioned facts and circumstances described in this Affidavit, it

 2 is my belief that there is probable cause to believe that DUENAS, VARELA, and MENDOZA violated

 3 Title 21, United States Code Section 841/846, possession of a controlled substance for sale and

 4 conspiracy to distribute a controlled substance, specifically over 500 grams of a mixture or substance

 5 containing a detectible amount of methamphetamine.

 6          I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 7 correct.

 8
                                                           _______________________________
 9                                                        Jackie Lovato, Special Agent
                                                          Homeland Security Investigations, HSI
10

11
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by Telephone
12 on

13 _______________

14
                                  2/1/24
15 ___________________________________
   Hon. Barbara A. McAuliffe
16 United States Magistrate Judge

17 Reviewed as to form:

18  /s/ Justin J. Gilio
   JUSTIN J. GILIO
19 Assistant U.S. Attorney

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      AFFIDAVIT                                          15
